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 Fill in this information to identify the case:

 Debtor name         SCHULTE PROPERTIES LLC

 United States Bankruptcy Court for the:            DISTRICT OF NEVADA

 Case number (if known)         18-12734
                                                                                                                                     Check if this is an
                                                                                                                                     amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                            12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          May 24, 2018                            X /s/ MELANI SCHULTE
                                                                       Signature of individual signing on behalf of debtor

                                                                       MELANI SCHULTE
                                                                       Printed name

                                                                       MANAGING MEMBER
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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 Fill in this information to identify the case:

 Debtor name            SCHULTE PROPERTIES LLC

 United States Bankruptcy Court for the:                       DISTRICT OF NEVADA

 Case number (if known)               18-12734
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $       10,383,035.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $              8,450.00

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $       10,391,485.00


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $        9,805,265.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$           748,977.95


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $         10,554,242.95




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
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 Fill in this information to identify the case:

 Debtor name         SCHULTE PROPERTIES LLC

 United States Bankruptcy Court for the:            DISTRICT OF NEVADA

 Case number (if known)         18-12734
                                                                                                                                            Check if this is an
                                                                                                                                            amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                           12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

        No. Go to Part 2.
         Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                        Current value of
                                                                                                                                            debtor's interest

 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                                  Last 4 digits of account
                                                                                                                 number
                                                                                Debtor In Possession
           3.1.     US Bank                                                     (from 2017 case)                 3878                                     $1,000.00



 4.        Other cash equivalents (Identify all)

 5.        Total of Part 1.                                                                                                                           $1,000.00
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.


 Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.

 11.       Accounts receivable
           11a. 90 days old or less:                                 1,050.00    -                                0.00 = ....                             $1,050.00
                                              face amount                            doubtful or uncollectible accounts




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                                    page 1
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 Debtor         SCHULTE PROPERTIES LLC                                                        Case number (If known) 18-12734
                Name


 12.       Total of Part 3.                                                                                                             $1,050.00
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:        Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.


 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.


 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.


 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.

           General description                                                Net book value of      Valuation method used      Current value of
           Include year, make, model, and identification numbers              debtor's interest      for current value          debtor's interest
           (i.e., VIN, HIN, or N-number)                                      (Where available)

 47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles


 48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
           floating homes, personal watercraft, and fishing vessels

 49.       Aircraft and accessories


 50.       Other machinery, fixtures, and equipment (excluding farm
           machinery and equipment)
           household appliances located in each rental
           property [value is estimated]                                                $6,400.00    Liquidation                            $6,400.00




 51.       Total of Part 8.                                                                                                             $6,400.00
           Add lines 47 through 50. Copy the total to line 87.

 52.       Is a depreciation schedule available for any of the property listed in Part 8?
               No
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                   page 2
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 Debtor         SCHULTE PROPERTIES LLC                                                        Case number (If known) 18-12734
                Name


               Yes

 53.       Has any of the property listed in Part 8 been appraised by a professional within the last year?
               No
               Yes

 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.

 55.       Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

           Description and location of                    Nature and          Net book value of      Valuation method used      Current value of
           property                                       extent of           debtor's interest      for current value          debtor's interest
           Include street address or other                debtor's interest   (Where available)
           description such as Assessor                   in property
           Parcel Number (APN), and type
           of property (for example,
           acreage, factory, warehouse,
           apartment or office building, if
           available.
           55.1. 1528 Splinter Rock
                     Way, North Las
                     Vegas, NV 89031
                     [Value is based on
                     Zillow.com estimate]                 Fee simple                        $0.00                                         $246,775.00


           55.2.     2614 Sweet Leilani
                     Ave, North Las
                     Vegas, NV 89031
                     [Value is based on
                     Zillow.com estimate]                 Fee Simple                        $0.00                                         $272,178.00


           55.3.     3729 Discovery Creek
                     Ave, North Las
                     Vegas, NV 89031
                     [Value is based on
                     Zillow.com estimate]                 Fee Simple                        $0.00                                         $266,804.00


           55.4.     9500 Aspen Glow Dr,
                     Las Vegas NV 89134
                     [Value is based on
                     Zillow.com estimate]                 Fee Simple                        $0.00                                         $299,137.00


           55.5.     1624 Desert Canyon
                     Ct, Las Vegas, NV
                     89128 [Value is
                     based on Zillow.com
                     estimate]                            Fee Simple                        $0.00                                         $329,445.00


           55.6.     6091 Pumpkin Patch
                     Ave, Las Vegas, NV
                     89142 [Value is
                     based on Zillow.com
                     estimate]                            Fee Simple                        $0.00                                         $240,357.00



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                      page 3
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 Debtor         SCHULTE PROPERTIES LLC                                                       Case number (If known) 18-12734
                Name

           55.7.     9020 Feather River
                     Ct, Las Vegas, NV
                     89117 [Value is
                     based on Zillow.com
                     estimate]                            Fee Simple                        $0.00                                $300,910.00


           55.8.     3383 Cloverdale Ct,
                     Las Vegas, NV 89117
                     [Value is based on
                     Zillow.com estimate]                 Fee Simple                        $0.00                                $304,893.00


           55.9.     7873 Bridgefield Ln,
                     Las Vegas, NV 89147
                     [Value is based on
                     Zillow.com estimate]                 Fee Simple                        $0.00                                $238,498.00


           55.10 5218 Misty Morning
           .     Dr, Las Vegas, NV
                     89118 [Value is
                     based on Zillow.com
                     estimate]                            Fee Simple                        $0.00                                $321,108.00


           55.11 1392 Echo Falls Ave,
           .     Las Vegas, NV 89183
                     [Value is based on
                     Zillow.com estimate]                 Fee Simple                        $0.00                                $277,850.00


           55.12 956 Ostrich Fern Ct,
           .     Las Vegas, NV 89183
                     [Value is based on
                     Zillow.com estimate]                 Fee Simple                        $0.00                                $264,581.00


           55.13 2460 Avenida Cortes,
           .     Henderson, NV 89074
                     [Value is based on
                     Zillow.com estimate]                 Fee Simple                        $0.00                                $266,769.00


           55.14 2290 Surrey
           .     Meadows Ave.,
                     Henderson, NV 89052
                     [Value is based on
                     Zillow.com estimate]                 Fee Simple                        $0.00                                $370,092.00


           55.15 4521 W La Madre
           .     Way, North Las
                     Vegas, NV 89031
                     [Value is based on
                     Zillow.com estimate]                 Fee Simple                        $0.00                                $245,437.00


           55.16 5524 Rock Creek Ln,
           .     Las Vegas, NV 89130
                     [Value is based on
                     Zillow.com estimate]                 Fee Simple                        $0.00                                $244,804.00


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                            page 4
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 Debtor         SCHULTE PROPERTIES LLC                                                       Case number (If known) 18-12734
                Name

           55.17 10317 Neopolitan Pl,
           .     Las Vegas, NV 89144
                     [Value is based on
                     Zillow.com estimate]                 Fee Simple                        $0.00                                $300,052.00


           55.18 5609 San Ardo Pl,
           .     Las Vegas, NV 89130
                     [Value is based on
                     Zillow.com estimate]                 Fee Simple                        $0.00                                $259,500.00


           55.19 3322 Cheltenham St,
           .     Las Vegas, NV 89129
                     [Value is based on
                     Zillow.com estimate]                 Fee Simple                        $0.00                                $228,554.00


           55.20 9521 Sierra Summit
           .     Ave, Las Vegas, NV
                     89134 [Value is
                     based on Zillow.com
                     estimate]                            Fee Simple                        $0.00                                $311,749.00


           55.21 8216 Peaceful
           .     Canyon Dr., Las
                     Vegas, NV 89128
                     [Value is based on
                     Zillow.com estimate]                 Fee Simple                        $0.00                                $287,751.00


           55.22 5709 Ridgetree Ave.,
           .     Las Vegas, NV 89107
                     [Value is based on
                     Zillow.com estimate]                 Fee Simple                        $0.00                                $168,810.00


           55.23 1013 Golden Hawk
           .     Way, Las Vegas, NV
                     89108 [Value is
                     based on Zillow.com
                     estimate]                            Fee Simple                        $0.00                                $235,106.00


           55.24 509 Canyon Greens
           .     Dr, Las Vegas, NV
                     89144 [Value is based
                     on Zillow.com
                     estimate]                            Fee Simple                        $0.00                               $2,085,740.00


           55.25 4710 Brently Pl, Las
           .     Vegas, NV 89122
                     [Value is based on
                     Zillow.com estimate]                 Fee Simple                        $0.00                                $207,637.00


           55.26 8562 Lambert Dr.,
           .     Las Vegas, NV 89147
                     [Value is based on
                     Zillow.com estimate]                 Fee Simple                        $0.00                                $294,027.00


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                            page 5
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 Debtor         SCHULTE PROPERTIES LLC                                                       Case number (If known) 18-12734
                Name

            55.27 2861 Marathon Dr.,
            .     Henderson, NV 89074
                     [Value is based on
                     Zillow.com estimate]                 Fee Simple                        $0.00                                  $268,576.00


            55.28 1194 Stormy Valley
            .     Rd., Las Vegas, NV
                     89123 [Value is
                     based on Zillow.com
                     estimate]                            Fee Simple                        $0.00                                  $244,631.00


            55.29 2525 Via Di
            .     Autostrada,
                     Henderson, NV 89074
                     [Value is based on
                     Zillow.com estimate]                 Fee Simple                        $0.00                                  $283,883.00


            55.30 276 Manzanita Ranch
            .     Ln, Henderson, NV
                     89012 [Value is
                     based on Zillow.com
                     estimate]                            Fee Simple                        $0.00                                  $280,051.00


            55.31 922 Saddle Horn Dr.,
            .     Henderson, NV 89002
                     [Value is based on
                     Zillow.com estimate]                 Fee Simple                        $0.00                                  $238,207.00


            55.32 1701 Empire Mine
            .     Dr., Henderson, NV
                     89014 [Value is
                     based on Zillow.com
                     estimate]                            Fee Simple                        $0.00                                  $199,123.00




 56.        Total of Part 9.                                                                                                   $10,383,035.00
            Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
            Copy the total to line 88.

 57.        Is a depreciation schedule available for any of the property listed in Part 9?
               No
               Yes

 58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
               No
               Yes

 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.


 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                              page 6
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 Debtor         SCHULTE PROPERTIES LLC                                                       Case number (If known) 18-12734
                Name

    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.

                                                                                                                               Current value of
                                                                                                                               debtor's interest


 71.       Notes receivable
           Description (include name of obligor)

 72.       Tax refunds and unused net operating losses (NOLs)
           Description (for example, federal, state, local)

 73.       Interests in insurance policies or annuities

 74.       Causes of action against third parties (whether or not a lawsuit
           has been filed)

 75.       Other contingent and unliquidated claims or causes of action of
           every nature, including counterclaims of the debtor and rights to
           set off claims
           Potential claims against various loan servicers/lenders
           for failure to abide by terms of confirmed plan, breach
           of application of monthly periodic application of
           payment rules, improper fees, advances, & charges,
           contempt of discharge order, unlawful acts and
           practices re the collection or attempt to collect unlawful
           charges, failure to correct notices of errors and
           breaches of the mortgage instrument/deed of trust,
           multiple violations of Reg X of RESPA and Reg Z of
           TILA to the extent applicable, common law fraud,
           FDCPA, FCRA, and other claims to be alleged based on
           these transanction and circumstances, failure to
           provide information, improper loan practices and/or
           other relief. Claims are against Citimortgage, City
           National Bank, Chase Home Finance/WAMU,
           Countrywide/Bank of America/BAC, Greentree/Ditech,
           America's Servicing Co./Wells Fargo, Bank of
           Nevada/Image Finance, Seterus, Selene Finance, LP,
           Litton Loan Servicing, OCWEN Loan Servicing, Shell
           Point Mortgage Servicing, Bayview Loan Servicing,
           Rushmore Loan Mgt. Services, Fifth Third Bank
           Mortgage Loan Servicing, Nationstar/Mr. Cooper,
           American Home Servicing, Inc., Fidelity Bank, BSI,
           Caliber Home Loans, Quality Loan Service, First
           American Trustee Serv. Solutions, Nat'l Default Serv.
           Corp., TD Service Co., Nevada Title, etc [Value is
           unknown]                                                                                                                        Unknown
           Nature of claim           various
           Amount requested                               $0.00



 76.       Trusts, equitable or future interests in property

 77.       Other property of any kind not already listed Examples: Season tickets,
           country club membership

 78.       Total of Part 11.                                                                                                                  $0.00
           Add lines 71 through 77. Copy the total to line 90.

 79.       Has any of the property listed in Part 11 been appraised by a professional within the last year?
               No
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                  page 7
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 Debtor         SCHULTE PROPERTIES LLC                                                       Case number (If known) 18-12734
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               Yes




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                             page 8
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 Debtor          SCHULTE PROPERTIES LLC                                                                              Case number (If known) 18-12734
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                              $1,000.00

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                       $1,050.00

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                                   $0.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                        $6,400.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                     $10,383,035.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                                $8,450.00         + 91b.           $10,383,035.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $10,391,485.00




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                            page 9
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 Fill in this information to identify the case:

 Debtor name         SCHULTE PROPERTIES LLC

 United States Bankruptcy Court for the:            DISTRICT OF NEVADA

 Case number (if known)             18-12734
                                                                                                                                              Check if this is an
                                                                                                                                              amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                    Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                Amount of claim             Value of collateral
                                                                                                                                                that supports this
                                                                                                                    Do not deduct the value     claim
                                                                                                                    of collateral.
 2.1   BANK OF AMERICA                                Describe debtor's property that is subject to a lien                          $0.00            $207,637.00
       Creditor's Name                                4710 Brently Pl, Las Vegas, NV 89122 [Value
       PO BOX 21848                                   is based on Zillow.com estimate]
       GREENSBORO, NC
       27420-1848
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust (previously stripped in prior
                                                      case)
                                                      Is the creditor an insider or related party?
       68189001596799                                    No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative
                                                         Disputed
       priority.
       1. RUSHMORE LOAN
       MANAGEMENT SERVICES
       2. BANK OF AMERICA
       3. JESSE SBAIH AND
       DEBORAH DRAKE

       BAYVIEW LOAN
 2.2                                                  Describe debtor's property that is subject to a lien                 $102,000.00               $266,769.00
       SERVICING
       Creditor's Name                                2460 Avenida Cortes, Henderson, NV 89074
       4425 PONCE DE LEON                             [Value is based on Zillow.com estimate]
       BLVD
       MIAMI, FL 33146
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No


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 Debtor       SCHULTE PROPERTIES LLC                                                                   Case number (if know)      18-12734
              Name

                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       1979
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative
                                                         Disputed
       priority.



       BAYVIEW LOAN
 2.3                                                                                                                           $104,000.00     $238,498.00
       SERVICING                                      Describe debtor's property that is subject to a lien
       Creditor's Name                                7873 Bridgefield Ln, Las Vegas, NV 89147
       4425 PONCE DE LEON                             [Value is based on Zillow.com estimate]
       BLVD
       MIAMI, FL 33146
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       1769
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative
       priority.                                         Disputed
       1. BAYVIEW LOAN
       SERVICING
       2. Image Finance, LLC

       BAYVIEW LOAN
 2.4                                                                                                                           $221,000.00     $304,893.00
       SERVICING                                      Describe debtor's property that is subject to a lien
       Creditor's Name                                3383 Cloverdale Ct, Las Vegas, NV 89117
       4425 PONCE DE LEON                             [Value is based on Zillow.com estimate]
       BLVD
       MIAMI, FL 33146
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       4912
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative
                                                         Disputed
       priority.




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 Debtor       SCHULTE PROPERTIES LLC                                                                   Case number (if know)      18-12734
              Name

       BAYVIEW LOAN
 2.5                                                                                                                           $140,000.00     $199,123.00
       SERVICING                                      Describe debtor's property that is subject to a lien
       Creditor's Name                                1701 Empire Mine Dr., Henderson, NV 89014
       4425 PONCE DE LEON                             [Value is based on Zillow.com estimate]
       BLVD
       MIAMI, FL 33146
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       4913
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative
       priority.                                         Disputed




       BAYVIEW LOAN
 2.6                                                                                                                           $112,000.00     $300,910.00
       SERVICING                                      Describe debtor's property that is subject to a lien
       Creditor's Name                                9020 Feather River Ct, Las Vegas, NV 89117
       4425 PONCE DE LEON                             [Value is based on Zillow.com estimate]
       BLVD
       MIAMI, FL 33146
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       2065
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative
                                                         Disputed
       priority.
       1. BAYVIEW LOAN
       SERVICING
       2. GREEN TREE
       SERVICING LLC - DITECH

       BAYVIEW LOAN
 2.7                                                                                                                           $128,000.00     $272,178.00
       SERVICING                                      Describe debtor's property that is subject to a lien
       Creditor's Name                                2614 Sweet Leilani Ave, North Las Vegas, NV
       4425 PONCE DE LEON                             89031 [Value is based on Zillow.com
       BLVD                                           estimate]
       MIAMI, FL 33146
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                Yes

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 Debtor       SCHULTE PROPERTIES LLC                                                                   Case number (if know)      18-12734
              Name

                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       4304
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative
       priority.                                         Disputed




 2.8   BSI                                            Describe debtor's property that is subject to a lien                     $142,000.00     $238,207.00
       Creditor's Name                                922 Saddle Horn Dr., Henderson, NV 89002
       PO BOX 517                                     [Value is based on Zillow.com estimate]
       314 S FRANKLIN ST
       TITUSVILLE, PA 16354
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       8391
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative
                                                         Disputed
       priority.



 2.9   CHASE                                          Describe debtor's property that is subject to a lien                     $110,000.00     $240,357.00
       Creditor's Name                                6091 Pumpkin Patch Ave, Las Vegas, NV
       3415 VISION DRIVE                              89142 [Value is based on Zillow.com
       COLUMBUS, OH                                   estimate]
       43219-6009
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       7609
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative
       priority.                                         Disputed




 2.1
 0     CITIMORTGAGE                                   Describe debtor's property that is subject to a lien                     $163,000.00     $299,137.00


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 Debtor       SCHULTE PROPERTIES LLC                                                                   Case number (if know)     18-12734
              Name

       Creditor's Name                                9500 Aspen Glow Dr, Las Vegas NV 89134
       PO BOX 6728                                    [Value is based on Zillow.com estimate]
       SIOUX FALLS, SD
       57117-6728
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       8517
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative
       priority.                                         Disputed
       1. CITIMORTGAGE
       2. CITY NATIONAL BANK

 2.1
 1     CITY NATIONAL BANK                             Describe debtor's property that is subject to a lien                     $25,000.00      $299,137.00
       Creditor's Name                                9500 Aspen Glow Dr, Las Vegas NV 89134
       PO BOX 6728                                    [Value is based on Zillow.com estimate]
       SIOUX FALLS, SD
       57117-6728
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       4409
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative
                                                         Disputed
       priority.
       Specified on line 2.10

 2.1
 2     CITY NATIONAL BANK                             Describe debtor's property that is subject to a lien                 $1,000,000.00       $321,108.00
       Creditor's Name                                5218 Misty Morning Dr, Las Vegas, NV 89118
       PO BOX 60938                                   [Value is based on Zillow.com estimate]
       LOS ANGELES, CA
       90060-0938
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust (previously stripped in prior
                                                      case)
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No



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 Debtor       SCHULTE PROPERTIES LLC                                                                   Case number (if know)      18-12734
              Name

                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       4409
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative
                                                         Disputed
       priority.
       1. FIFTH THIRD BANK
       2. CITY NATIONAL BANK

 2.1   COUNTRYWIDE / BANK OF
 3     AMERICA                                        Describe debtor's property that is subject to a lien                     $839,500.00   $2,085,740.00
       Creditor's Name                                509 Canyon Greens Dr, Las Vegas, NV 89144
                                                      [Value is based on Zillow.com estimate]
       PO BOX 942019
       SIMI VALLEY, CA 93094
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust (2nd position - stripped in prior
                                                      bankruptcy)
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       5785
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative
       priority.                                         Disputed
       1. WELLS FARGO HOME
       MORTGAGE
       2. COUNTRYWIDE / BANK
       OF AMERICA
       3. Z'REA LIMITED
       PARTNERSHIP
       4. JESSE SBAIH AND
       DEBORAH DRAKE
       5. JEFFREY SYLVESTER,
       ESQ.

 2.1
 4     FIDELITY BANK                                  Describe debtor's property that is subject to a lien                      $83,000.00     $244,804.00
       Creditor's Name                                5524 Rock Creek Ln, Las Vegas, NV 89130
       100 E ENGLISH                                  [Value is based on Zillow.com estimate]
       PO BOX 1007
       WICHITA, KS 67201
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       0769

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 Debtor       SCHULTE PROPERTIES LLC                                                                   Case number (if know)      18-12734
              Name

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative
                                                         Disputed
       priority.
       1. FIDELITY BANK
       2. WELLS FARGO

 2.1
 5     FIFTH THIRD BANK                               Describe debtor's property that is subject to a lien                     $153,000.00     $321,108.00
       Creditor's Name                                5218 Misty Morning Dr, Las Vegas, NV 89118
       MD 1 MOCFP                                     [Value is based on Zillow.com estimate]
       5050 KINGSLEY DR
       CINCINNATI, OH 45263
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       6682
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative
       priority.                                         Disputed
       Specified on line 2.12

 2.1   GREEN TREE SERVICING
 6     LLC - DITECH                                   Describe debtor's property that is subject to a lien                     $137,000.00     $266,804.00
       Creditor's Name                                3729 Discovery Creek Ave, North Las Vegas,
       PO BOX 6176                                    NV 89031 [Value is based on Zillow.com
       RAPID CITY, SD                                 estimate]
       57709-6176
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       2005                                              Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       7644
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative
                                                         Disputed
       priority.



 2.1   GREEN TREE SERVICING
 7     LLC - DITECH                                   Describe debtor's property that is subject to a lien                      $65,000.00     $300,910.00




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 Debtor       SCHULTE PROPERTIES LLC                                                                   Case number (if know)    18-12734
              Name

       Creditor's Name                                9020 Feather River Ct, Las Vegas, NV 89117
       PO BOX 6176                                    [Value is based on Zillow.com estimate]
       RAPID CITY, SD
       57709-6176
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       0620
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative
       priority.                                         Disputed
       Specified on line 2.6

 2.1   GREEN TREE SERVICING
 8     LLC - DITECH                                   Describe debtor's property that is subject to a lien                         $0.00       $300,052.00
       Creditor's Name                                10317 Neopolitan Pl, Las Vegas, NV 89144
       PO BOX 6176                                    [Value is based on Zillow.com estimate]
       RAPID CITY, SD
       57709-6176
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust (previously stripped in prior
                                                      case)
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       7943
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative
       priority.                                         Disputed
       1. NATIONSTAR
       MORTGAGE
       2. GREEN TREE
       SERVICING LLC - DITECH

 2.1
 9     IMAGE FINANCE, LLC                             Describe debtor's property that is subject to a lien                 $1,750,000.00   $2,635,032.00
       Creditor's Name                                real property located on Avenida Cortes,
                                                      Feather River, Golden Hawk, Lambert,
       4751 WILSHIRE                                  Marathon, Neopolitan, Peaceful Canyon,
       BOULEVARD STE 203                              Sierra Summit, Surrey Meadows
       LOS ANGELES, CA 90010
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                Yes

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 Debtor       SCHULTE PROPERTIES LLC                                                                   Case number (if know)     18-12734
              Name

                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       6328
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative
       priority.                                         Disputed




 2.2
 0     Image Finance, LLC                             Describe debtor's property that is subject to a lien                     $93,000.00      $329,445.00
       Creditor's Name                                1624 Desert Canyon Ct, Las Vegas, NV 89128
       4751 Wilshire Boulevard,                       [Value is based on Zillow.com estimate]
       Suite 203
       Los Angeles, CA 90010
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       6328
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative
                                                         Disputed
       priority.
       1. SELENE FINANCE LP
       2. Image Finance, LLC

 2.2
 1     Image Finance, LLC                             Describe debtor's property that is subject to a lien                          $0.00      $246,775.00
       Creditor's Name                                1528 Splinter Rock Way, North Las Vegas, NV
       4751 Wilshire Boulevard,                       89031 [Value is based on Zillow.com
       Suite 203                                      estimate]
       Los Angeles, CA 90010
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       6328
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply




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 Debtor       SCHULTE PROPERTIES LLC                                                                   Case number (if know)     18-12734
              Name

           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative
                                                         Disputed
       priority.
       1. WELLS FARGO HOME
       MORTGAGE
       2. Image Finance, LLC

 2.2
 2     Image Finance, LLC                             Describe debtor's property that is subject to a lien                          $0.00      $238,498.00
       Creditor's Name                                7873 Bridgefield Ln, Las Vegas, NV 89147
       4751 Wilshire Boulevard,                       [Value is based on Zillow.com estimate]
       Suite 203
       Los Angeles, CA 90010
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       6328
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative
       priority.                                         Disputed
       Specified on line 2.3

 2.2   JEFFREY SYLVESTER,
 3     ESQ.                                           Describe debtor's property that is subject to a lien                     $72,000.00   $2,357,918.00
       Creditor's Name                                real property located on Sweet Leilani and
       1731 VILLAGE CENTER                            Canyon Greens (Canyon Greens deed is in
       CIRCLE                                         5th place and property is over-encumbered)
       LAS VEGAS, NV 89134
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative
                                                         Disputed
       priority.



 2.2   JEFFREY SYLVESTER,
 4     ESQ.                                           Describe debtor's property that is subject to a lien                          $0.00   $2,085,740.00
       Creditor's Name                                509 Canyon Greens Dr, Las Vegas, NV 89144
       1731 VILLAGE CENTER                            [Value is based on Zillow.com estimate]
       CIRCLE
       LAS VEGAS, NV 89134

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 Debtor       SCHULTE PROPERTIES LLC                                                                   Case number (if know)      18-12734
              Name

       Creditor's mailing address                     Describe the lien
                                                      Judgment Lien (stripped in prior bankruptcy)
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative
       priority.                                         Disputed
       Specified on line 2.13

 2.2   JESSE SBAIH AND
 5     DEBORAH DRAKE                                  Describe debtor's property that is subject to a lien                     $155,000.00   $2,721,687.00
       Creditor's Name                                real property located on Brently Pl, Canyon
       170 S GREEN VALLEY                             Greens, Ridgetree Ave, San Aardo Pl
       PKWY #280
       HENDERSON, NV 89012
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative
                                                         Disputed
       priority.



 2.2   JESSE SBAIH AND
 6     DEBORAH DRAKE                                  Describe debtor's property that is subject to a lien                           $0.00     $168,810.00
       Creditor's Name                                5709 Ridgetree Ave., Las Vegas, NV 89107
       170 S GREEN VALLEY                             [Value is based on Zillow.com estimate]
       PKWY #280
       HENDERSON, NV 89012
       Creditor's mailing address                     Describe the lien
                                                      Judgment Lien (stripped in prior bankruptcy)
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply




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 Debtor       SCHULTE PROPERTIES LLC                                                                   Case number (if know)      18-12734
              Name

           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative
                                                         Disputed
       priority.
       1. SHELLPOINT
       MORTGAGE SERVICING
       LLC
       2. JESSE SBAIH AND
       DEBORAH DRAKE

 2.2   JESSE SBAIH AND
 7     DEBORAH DRAKE                                  Describe debtor's property that is subject to a lien                           $0.00   $2,085,740.00
       Creditor's Name                                509 Canyon Greens Dr, Las Vegas, NV 89144
       170 S GREEN VALLEY                             [Value is based on Zillow.com estimate]
       PKWY #280
       HENDERSON, NV 89012
       Creditor's mailing address                     Describe the lien
                                                      Judgment Lien (stripped in prior bankruptcy)
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative
       priority.                                         Disputed
       Specified on line 2.13

 2.2   JESSE SBAIH AND
 8     DEBORAH DRAKE                                  Describe debtor's property that is subject to a lien                           $0.00     $207,637.00
       Creditor's Name                                4710 Brently Pl, Las Vegas, NV 89122 [Value
       170 S GREEN VALLEY                             is based on Zillow.com estimate]
       PKWY #280
       HENDERSON, NV 89012
       Creditor's mailing address                     Describe the lien
                                                      Judgment Lien (stripped in prior bankruptcy)
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative
                                                         Disputed
       priority.
       Specified on line 2.1

 2.2
 9     NATIONSTAR MORTGAGE                            Describe debtor's property that is subject to a lien                     $165,000.00     $300,052.00



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 Debtor       SCHULTE PROPERTIES LLC                                                                   Case number (if know)      18-12734
              Name

       Creditor's Name                                10317 Neopolitan Pl, Las Vegas, NV 89144
       CUSTOMER RELATIONS                             [Value is based on Zillow.com estimate]
       PO BOX 619098
       DALLAS, TX 75261-9741
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       0483
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative
       priority.                                         Disputed
       Specified on line 2.18

 2.3   RUSHMORE LOAN
 0     MANAGEMENT SERVICES                            Describe debtor's property that is subject to a lien                     $160,000.00     $207,637.00
       Creditor's Name                                4710 Brently Pl, Las Vegas, NV 89122 [Value
                                                      is based on Zillow.com estimate]
       PO BOX 52262
       IRVINE, CA 92619-2263
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       0925
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative
       priority.                                         Disputed
       Specified on line 2.1

 2.3   RUSHMORE LOAN
 1     MANAGEMENT SERVICES                            Describe debtor's property that is subject to a lien                     $144,000.00     $268,576.00
       Creditor's Name                                2861 Marathon Dr., Henderson, NV 89074
                                                      [Value is based on Zillow.com estimate]
       PO BOX 52262
       IRVINE, CA 92619-2263
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       2275

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 Debtor       SCHULTE PROPERTIES LLC                                                                   Case number (if know)      18-12734
              Name

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative
                                                         Disputed
       priority.



 2.3
 2     SELENE FINANCE LP                              Describe debtor's property that is subject to a lien                     $138,000.00     $329,445.00
       Creditor's Name                                1624 Desert Canyon Ct, Las Vegas, NV 89128
       9990 RICHMOND AVE STE                          [Value is based on Zillow.com estimate]
       400
       HOUSTON, TX 77042
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       2001                                              Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       1737
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative
       priority.                                         Disputed
       Specified on line 2.20

 2.3
 3     SELENE FINANCE LP                              Describe debtor's property that is subject to a lien                     $103,000.00     $245,437.00
       Creditor's Name                                4521 W La Madre Way, North Las Vegas, NV
       9990 RICHMOND AVE STE                          89031 [Value is based on Zillow.com
       400                                            estimate]
       HOUSTON, TX 77042
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       1059
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative
                                                         Disputed
       priority.
       1. SELENE FINANCE LP
       2. WELLS FARGO

 2.3
 4     SELENE FINANCE LP                              Describe debtor's property that is subject to a lien                     $232,000.00     $280,051.00




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 Debtor       SCHULTE PROPERTIES LLC                                                                   Case number (if know)      18-12734
              Name

       Creditor's Name                                276 Manzanita Ranch Ln, Henderson, NV
       9990 RICHMOND AVE STE                          89012 [Value is based on Zillow.com
       400                                            estimate]
       HOUSTON, TX 77042
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       7708
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative
       priority.                                         Disputed
       1. SELENE FINANCE LP
       2. WELLS FARGO

 2.3
 5     SELENE FINANCE LP                              Describe debtor's property that is subject to a lien                     $145,000.00     $311,749.00
       Creditor's Name                                9521 Sierra Summit Ave, Las Vegas, NV
       9990 RICHMOND AVE STE                          89134 [Value is based on Zillow.com
       400                                            estimate]
       HOUSTON, TX 77042
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       8721
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative
                                                         Disputed
       priority.



 2.3
 6     SELENE FINANCE LP                              Describe debtor's property that is subject to a lien                     $251,000.00     $370,092.00
       Creditor's Name                                2290 Surrey Meadows Ave., Henderson, NV
       9990 RICHMOND AVE STE                          89052 [Value is based on Zillow.com
       400                                            estimate]
       HOUSTON, TX 77042
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

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 Debtor       SCHULTE PROPERTIES LLC                                                                   Case number (if know)      18-12734
              Name

       7690
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative
                                                         Disputed
       priority.



 2.3
 7     SETERUS, INC.                                  Describe debtor's property that is subject to a lien                     $120,000.00     $228,554.00
       Creditor's Name                                3322 Cheltenham St, Las Vegas, NV 89129
                                                      [Value is based on Zillow.com estimate]
       PO BOX 1077
       HARTFORD, CT 06143
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       3144
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative
       priority.                                         Disputed




 2.3
 8     SETERUS, INC.                                  Describe debtor's property that is subject to a lien                     $175,000.00     $294,027.00
       Creditor's Name                                8562 Lambert Dr., Las Vegas, NV 89147
                                                      [Value is based on Zillow.com estimate]
       PO BOX 1077
       HARTFORD, CT 06143
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       0246
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative
       priority.                                         Disputed




 2.3
 9     SETERUS, INC.                                  Describe debtor's property that is subject to a lien                     $142,000.00     $244,631.00
       Creditor's Name                                1194 Stormy Valley Rd., Las Vegas, NV 89123
                                                      [Value is based on Zillow.com estimate]
       PO BOX 1077
       HARTFORD, CT 06143

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 Debtor       SCHULTE PROPERTIES LLC                                                                   Case number (if know)      18-12734
              Name

       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       8319
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative
       priority.                                         Disputed




 2.4
 0     SETERUS, INC.                                  Describe debtor's property that is subject to a lien                     $124,000.00     $283,883.00
       Creditor's Name                                2525 Via Di Autostrada, Henderson, NV 89074
                                                      [Value is based on Zillow.com estimate]
       PO BOX 1077
       HARTFORD, CT 06143
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       9857
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative
                                                         Disputed
       priority.



 2.4   SHELLPOINT MORTGAGE
 1     SERVICING LLC                                  Describe debtor's property that is subject to a lien                     $170,000.00     $277,850.00
       Creditor's Name                                1392 Echo Falls Ave, Las Vegas, NV 89183
       PO BOX 10826                                   [Value is based on Zillow.com estimate]
       GREENVILLE, SC
       29603-0826
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       6861
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply




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 Debtor       SCHULTE PROPERTIES LLC                                                                   Case number (if know)      18-12734
              Name

           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative
                                                         Disputed
       priority.



 2.4   SHELLPOINT MORTGAGE
 2     SERVICING LLC                                  Describe debtor's property that is subject to a lien                      $88,000.00     $235,106.00
       Creditor's Name                                1013 Golden Hawk Way, Las Vegas, NV 89108
       PO BOX 10826                                   [Value is based on Zillow.com estimate]
       GREENVILLE, SC
       29603-0826
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       4232
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative
                                                         Disputed
       priority.



 2.4   SHELLPOINT MORTGAGE
 3     SERVICING LLC                                  Describe debtor's property that is subject to a lien                     $205,000.00     $264,581.00
       Creditor's Name                                956 Ostrich Fern Ct, Las Vegas, NV 89183
       PO BOX 10826                                   [Value is based on Zillow.com estimate]
       GREENVILLE, SC
       29603-0826
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       6860
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative
       priority.                                         Disputed




 2.4   SHELLPOINT MORTGAGE
 4     SERVICING LLC                                  Describe debtor's property that is subject to a lien                     $132,000.00     $287,751.00
       Creditor's Name                                8216 Peaceful Canyon Dr., Las Vegas, NV
       PO BOX 10826                                   89128 [Value is based on Zillow.com
       GREENVILLE, SC                                 estimate]
       29603-0826
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust

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 Debtor       SCHULTE PROPERTIES LLC                                                                   Case number (if know)      18-12734
              Name

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       2256
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative
                                                         Disputed
       priority.



 2.4   SHELLPOINT MORTGAGE
 5     SERVICING LLC                                  Describe debtor's property that is subject to a lien                      $60,000.00     $168,810.00
       Creditor's Name                                5709 Ridgetree Ave., Las Vegas, NV 89107
       PO BOX 10826                                   [Value is based on Zillow.com estimate]
       GREENVILLE, SC
       29603-0826
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       5845
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative
       priority.                                         Disputed
       Specified on line 2.26

 2.4   SHELLPOINT MORTGAGE
 6     SERVICING LLC                                  Describe debtor's property that is subject to a lien                     $143,000.00     $259,500.00
       Creditor's Name                                5609 San Ardo Pl, Las Vegas, NV 89130
       PO BOX 10826                                   [Value is based on Zillow.com estimate]
       GREENVILLE, SC
       29603-0826
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       3594
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply




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 Debtor       SCHULTE PROPERTIES LLC                                                                   Case number (if know)     18-12734
              Name

           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative
                                                         Disputed
       priority.



 2.4
 7     WELLS FARGO                                    Describe debtor's property that is subject to a lien                          $0.00      $245,437.00
       Creditor's Name                                4521 W La Madre Way, North Las Vegas, NV
       PO BOX 1323                                    89031 [Value is based on Zillow.com
       PORTLAND, OR                                   estimate]
       97208-4233
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust (previously stripped in prior
                                                      case)
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       1998
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative
       priority.                                         Disputed
       Specified on line 2.33

 2.4
 8     WELLS FARGO                                    Describe debtor's property that is subject to a lien                     $13,000.00      $280,051.00
       Creditor's Name                                276 Manzanita Ranch Ln, Henderson, NV
       PO BOX 1323                                    89012 [Value is based on Zillow.com
       PORTLAND, OR                                   estimate]
       97208-4233
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust (previously stripped in prior
                                                      case)
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       1998
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative
                                                         Disputed
       priority.
       Specified on line 2.34

 2.4
 9     WELLS FARGO                                    Describe debtor's property that is subject to a lien                          $0.00      $244,804.00
       Creditor's Name                                5524 Rock Creek Ln, Las Vegas, NV 89130
       PO BOX 1323                                    [Value is based on Zillow.com estimate]
       PORTLAND, OR
       97208-4233

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 Debtor       SCHULTE PROPERTIES LLC                                                                   Case number (if know)      18-12734
              Name

       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust (previously stripped in prior
                                                      case)
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       1998
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative
       priority.                                         Disputed
       Specified on line 2.14

 2.5   WELLS FARGO HOME
 0     MORTGAGE                                       Describe debtor's property that is subject to a lien                 $1,360,765.00     $2,085,740.00
       Creditor's Name                                509 Canyon Greens Dr, Las Vegas, NV 89144
       PO BOX 10335                                   [Value is based on Zillow.com estimate]
       DES MOINES, IA
       50306-0335
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust (1st Position)
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       0145
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative
                                                         Disputed
       priority.
       Specified on line 2.13

 2.5   WELLS FARGO HOME
 1     MORTGAGE                                       Describe debtor's property that is subject to a lien                     $140,000.00     $246,775.00
       Creditor's Name                                1528 Splinter Rock Way, North Las Vegas, NV
       PO BOX 10335                                   89031 [Value is based on Zillow.com
       DES MOINES, IA                                 estimate]
       50306-0335
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       1996                                              Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       4241
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply



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 Debtor       SCHULTE PROPERTIES LLC                                                                   Case number (if know)       18-12734
              Name

            No                                           Contingent
            Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative
                                                         Disputed
        priority.
        Specified on line 2.21

 2.5    Z'REA LIMITED
 2      PARTNERSHIP                                   Describe debtor's property that is subject to a lien                       Unknown         $2,085,740.00
        Creditor's Name                               509 Canyon Greens Dr, Las Vegas, NV 89144
        7201 W LAKE MEAD BLVD                         [Value is based on Zillow.com estimate]
        #550
        LAS VEGAS, NV 89128
        Creditor's mailing address                    Describe the lien
                                                      Deed of Trust (3rd Position)
                                                      Is the creditor an insider or related party?
                                                         No
        Creditor's email address, if known                Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                           No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
            No                                           Contingent
            Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative
                                                         Disputed
        priority.
        Specified on line 2.13

                                                                                                                               $9,805,265.0
 3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                         0

 Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity
         BANK OF NEW YORK
         225 LIBERTY ST                                                                                         Line   2.50
         NEW YORK, NY 10286

         BANK OF NEW YORK
         225 LIBERTY ST                                                                                         Line   2.4
         NEW YORK, NY 10286

         BANK OF NEW YORK
         225 LIBERTY ST                                                                                         Line   2.41
         NEW YORK, NY 10286

         BANK OF NEW YORK
         225 LIBERTY ST                                                                                         Line   2.5
         NEW YORK, NY 10286

         BANK OF NEW YORK
         225 LIBERTY ST                                                                                         Line   2.43
         NEW YORK, NY 10286




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 Debtor       SCHULTE PROPERTIES LLC                                                     Case number (if know)    18-12734
              Name

        BANK OF NEW YORK
        225 LIBERTY ST                                                                          Line   2.45
        NEW YORK, NY 10286

        BANK OF NEW YORK
        225 LIBERTY ST                                                                          Line   2.7
        NEW YORK, NY 10286

        BANK OF NY MELLON
        2200 PASEO VERDE PKWY STE 200                                                           Line   2.41                      Schulte
        HENDERSON, NV 89052-2703

        FANNIE MAE
        3900 WISCONSIN AVE NW                                                                   Line   2.30
        WASHINGTON, DC 20016

        FANNIE MAE
        3900 WISCONSIN AVE NW                                                                   Line   2.37
        WASHINGTON, DC 20016

        FANNIE MAE
        3900 WISCONSIN AVE NW                                                                   Line   2.32
        WASHINGTON, DC 20016

        FANNIE MAE
        3900 WISCONSIN AVE NW                                                                   Line   2.16
        WASHINGTON, DC 20016

        FANNIE MAE
        3900 WISCONSIN AVE NW                                                                   Line   2.33
        WASHINGTON, DC 20016

        FANNIE MAE
        3900 WISCONSIN AVE NW                                                                   Line   2.38
        WASHINGTON, DC 20016

        FANNIE MAE
        3900 WISCONSIN AVE NW                                                                   Line   2.34
        WASHINGTON, DC 20016

        FANNIE MAE
        3900 WISCONSIN AVE NW                                                                   Line   2.31
        WASHINGTON, DC 20016

        FANNIE MAE
        3900 WISCONSIN AVE NW                                                                   Line   2.29
        WASHINGTON, DC 20016

        FANNIE MAE
        3900 WISCONSIN AVE NW                                                                   Line   2.44
        WASHINGTON, DC 20016

        FANNIE MAE
        3900 WISCONSIN AVE NW                                                                   Line   2.8
        WASHINGTON, DC 20016

        FANNIE MAE
        3900 WISCONSIN AVE NW                                                                   Line   2.46
        WASHINGTON, DC 20016

        FANNIE MAE
        3900 WISCONSIN AVE NW                                                                   Line   2.39
        WASHINGTON, DC 20016


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 Debtor       SCHULTE PROPERTIES LLC                                                     Case number (if know)    18-12734
              Name

        FANNIE MAE
        3900 WISCONSIN AVE NW                                                                   Line   2.36
        WASHINGTON, DC 20016

        FANNIE MAE
        3900 WISCONSIN AVE NW                                                                   Line   2.40
        WASHINGTON, DC 20016

        FREDDIE MAC
        8250 JONES BRANCH DR                                                                    Line   2.2
        MC LEAN, VA 22102

        FREDDIE MAC
        8250 JONES BRANCH DR                                                                    Line   2.3
        MC LEAN, VA 22102

        FREDDIE MAC
        8250 JONES BRANCH DR                                                                    Line   2.6
        MC LEAN, VA 22102

        FREDDIE MAC
        8250 JONES BRANCH DR                                                                    Line   2.42
        MC LEAN, VA 22102

        FREDDIE MAC
        8250 JONES BRANCH DR                                                                    Line   2.15
        MC LEAN, VA 22102

        FREDDIE MAC
        8250 JONES BRANCH DR                                                                    Line   2.35
        MC LEAN, VA 22102

        GOVERNMENT NATIONAL MORTGAGE ASSOC
        451 SEVENTH STREET, ROOM B-133                                                          Line   2.10
        WASHINGTON, DC 20410

        GOVERNMENT NATIONAL MORTGAGE ASSOC
        451 SEVENTH STREET, ROOM B-133                                                          Line   2.51
        WASHINGTON, DC 20410

        Nevada Title Company
        2500 N. Buffalo Drive, suite 150                                                        Line   2.19
        Las Vegas, NV 89128

        Quality Loan Servicing Corporation
        411 Ivy Street                                                                          Line   2.29                        0486
        San Diego, CA 92101

        SNELL & WILMER LLP
        3883 HOWARD HUGHES PKWY, STE 1100                                                       Line   2.20                  Schulte/Image
        LAS VEGAS, NV 89169                                                                                                    Finance

        SNELL & WILMER LLP
        3883 HOWARD HUGHES PKWY, STE 1100                                                       Line   2.21                  Schulte/Image
        LAS VEGAS, NV 89169                                                                                                    Finance

        SNELL & WILMER LLP
        3883 HOWARD HUGHES PKWY, STE 1100                                                       Line   2.22                  Schulte/Image
        LAS VEGAS, NV 89169                                                                                                    Finance




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 Fill in this information to identify the case:

 Debtor name         SCHULTE PROPERTIES LLC

 United States Bankruptcy Court for the:            DISTRICT OF NEVADA

 Case number (if known)           18-12734
                                                                                                                                                   Check if this is an
                                                                                                                                                   amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                  12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.


 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                   $850.00
           Adam's Pool Solutions                                                Contingent
           4451 N. Walnut Road                                                  Unliquidated
           NORTH LAS VEGAS, NV 89081                                            Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    pool services
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.2       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $120,000.00
           AMBERLEA DAVIS, ESQ                                                  Contingent
           415 S 6TH STREET STE 300                                             Unliquidated
           LAS VEGAS, NV 89101                                                  Disputed
           Date(s) debt was incurred various
                                                                             Basis for the claim:    attorney fees
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.3       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                         $0.00
           AMERICAN WEST VILLAGE                                                Contingent
           C/O FIRST SERVICE RESIDENTIAL                                        Unliquidated
           PO BOX 54089
           LOS ANGELES, CA 90054-0089                                           Disputed

           Date(s) debt was incurred                                         Basis for the claim:    [NOTICE ONLY]
           Last 4 digits of account number                                   Is the claim subject to offset?       No     Yes

 3.4       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                         $0.00
           BLUFFS COMMUNITY ASSOCIATION HOA                                     Contingent
           C/O COLONIAL PROPERTY MANAGEMENT                                     Unliquidated
           PO BOX 63275
           PHOENIX, AZ 85082-3275                                               Disputed

           Date(s) debt was incurred                                         Basis for the claim:    [NOTICE ONLY]
           Last 4 digits of account number                                   Is the claim subject to offset?       No     Yes




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 Debtor       SCHULTE PROPERTIES LLC                                                                  Case number (if known)            18-12734
              Name

 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $0.00
          BLUFFS VILLAGE 2 COMMUNITY
          ASSOCIATION                                                           Contingent
          C/O FIRST SERVICE RESIDENTIAL                                         Unliquidated
          PO BOX 54089                                                          Disputed
          LOS ANGELES, CA 90054-0089
                                                                             Basis for the claim:    [NOTICE ONLY]
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $0.00
          CANYON FAIRWAYS HOA                                                   Contingent
          PO BOX 93177                                                          Unliquidated
          LAS VEGAS, NV 89193-3177
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [NOTICE ONLY]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.     $500,000.00
          CITY NATIONAL BANK                                                    Contingent
          C/O FENNEMORE CRAIG                                                   Unliquidated
          300 S FOURTH STREET STE 1400
          LAS VEGAS, NV 89101                                                   Disputed

          Date(s) debt was incurred                                          Basis for the claim:

          Last 4 digits of account number       6882                         Is the claim subject to offset?     No       Yes

 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $0.00
          COPPER RIDGE                                                          Contingent
          C/O COLONIAL PROPERTY MANAGEMENT                                      Unliquidated
          PO BOX 63275
          PHOENIX, AZ 85082-3275                                                Disputed

          Date(s) debt was incurred                                          Basis for the claim:    [NOTICE ONLY]
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $2,000.00
          Cornelio Martin                                                       Contingent
          716 N. 17th Street                                                    Unliquidated
          LAS VEGAS, NV 89101                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    roofing services for Feather River property
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $0.00
          CREEKSIDE HOA                                                         Contingent
          C/O FIRST SERIVCE RESIDENTIAL                                         Unliquidated
          PO BOX 54089
          LOS ANGELES, CA 90054                                                 Disputed

          Date(s) debt was incurred                                          Basis for the claim:    [NOTICE ONLY]
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $0.00
          Dagger Properties 1-6, LLC                                            Contingent
          c/o Gary Horns                                                        Unliquidated
          4382 Carta Luna Street
                                                                                Disputed
          LAS VEGAS, NV 89135
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 Debtor       SCHULTE PROPERTIES LLC                                                                  Case number (if known)            18-12734
              Name

 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $90,000.00
          DAVID PIERCE                                                          Contingent
          9811 W CHARLESTON BLVD STE 2-279                                      Unliquidated
          LAS VEGAS, NV 89117                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    LOAN
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $10,000.00
          DAVID SNELL DAVIS                                                     Contingent
          415 S. 6th Street, Suite 300                                          Unliquidated
          LAS VEGAS, NV 89101                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    professional fees
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $180.00
          Davila Tree Service & Landscaping                                     Contingent
          1416 Tequesta Road                                                    Unliquidated
          LAS VEGAS, NV 89108                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    landscaping services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $0.00
          ELDORADO FIRST
          C/O TERRA WEST PROPERTY                                               Contingent
          MANAGEMENT                                                            Unliquidated
          PO BOX 80900                                                          Disputed
          LAS VEGAS, NV 89180-0900
                                                                             Basis for the claim:    [NOTICE ONLY]
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $0.00
          Equity Title of Nevada                                                Contingent
          10777 W. Twain Avenue #110                                            Unliquidated
          LAS VEGAS, NV 89135
                                                                                Disputed
          Date(s) debt was incurred 2009
                                                                             Basis for the claim:    NOTICE ONLY - possible judgment
          Last 4 digits of account number 6092
                                                                             Is the claim subject to offset?     No       Yes

 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $0.00
          GREEN VALLEY RANCH HOA                                                Contingent
          C/O TERRA WEST PROPERTY MGMT                                          Unliquidated
          PO BOX 94617
          LAS VEGAS, NV 89193-4617                                              Disputed

          Date(s) debt was incurred                                          Basis for the claim:    [NOTICE ONLY]
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $6,767.95
          KUNIN & CARMAN                                                        Contingent
          3551 E BONANZA RD #110                                                Unliquidated
          LAS VEGAS, NV 89110
                                                                                Disputed
          Date(s) debt was incurred
                                                                                             possible lien/claim against properties held by Debtor
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             that were previously held by William R. Schulte
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       SCHULTE PROPERTIES LLC                                                                  Case number (if known)            18-12734
              Name

 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $900.00
          LUCY INNUSO                                                           Contingent
          7413 LATTIMORE DR                                                     Unliquidated
          LAS VEGAS, NV 89110                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Pool services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,500.00
          PALM GARDENS                                                          Contingent
          C/O ASSOCIA NEVADA SOUTH                                              Unliquidated
          PO BOX 60998
          PHOENIX, AZ 85082-0998                                                Disputed

          Date(s) debt was incurred                                          Basis for the claim:    [NOTICE ONLY]
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,500.00
          PEBBLE CREEK HOA                                                      Contingent
          C/O COLONIAL PROPERTY MANAGEMENT                                      Unliquidated
          PO BOX 63275
          PHOENIX, AZ 85082-3275                                                Disputed

          Date(s) debt was incurred                                          Basis for the claim:    [NOTICE ONLY]
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $800.00
          RANCHO ALTA MIRA                                                      Contingent
          C/O TERRA WEST PROP MGMT                                              Unliquidated
          PO BOX 80900
          LAS VEGAS, NV 89180-0900                                              Disputed

          Date(s) debt was incurred                                          Basis for the claim:    [NOTICE ONLY]
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $2,000.00
          RANCHO LAS BRISAS HOA                                                 Contingent
          9440 W SAHARA AVE, STE 237                                            Unliquidated
          LAS VEGAS, NV 89117
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [NOTICE ONLY]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $5,000.00
          RIDGEMONT TOWNHOMES ASSOCIATION                                       Contingent
          5601 RIDGETREE AVE                                                    Unliquidated
          LAS VEGAS, NV 89107
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [NOTICE ONLY]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $0.00
          RIDGEMOUNT ASSOCIATION                                                Contingent
          C/O FIRST SERVICE RESIDENTIAL                                         Unliquidated
          8290 ARVILLE ST
          LAS VEGAS, NV 89139                                                   Disputed

          Date(s) debt was incurred                                          Basis for the claim:    [NOTICE ONLY]
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                            Page 4 of 6
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 Debtor       SCHULTE PROPERTIES LLC                                                                  Case number (if known)            18-12734
              Name

 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $880.00
          SAGECREEK HOA                                                         Contingent
          C/O CAMCO                                                             Unliquidated
          PO BOX 12117
          LAS VEGAS, NV 89112                                                   Disputed

          Date(s) debt was incurred                                          Basis for the claim:    [NOTICE ONLY]
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $3,400.00
          SAN MARINO                                                            Contingent
          C/O FIRST SERVICE RESIDENTIAL                                         Unliquidated
          PO BOX 54089
          LOS ANGELES, CA 90054-0089                                            Disputed

          Date(s) debt was incurred                                          Basis for the claim:    [NOTICE ONLY]
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $0.00
          Sanctuary Condos, LLC                                                 Contingent
          c/o Gary R. Horns                                                     Unliquidated
          3233 W. Charleston Blvd. #101
          LAS VEGAS, NV 89102                                                   Disputed

          Date(s) debt was incurred                                          Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $0.00
          Sanctuary Homes, LLC                                                  Contingent
          c/o Gary R. Horns                                                     Unliquidated
          3233 W. Charleston Blvd. #101
          LAS VEGAS, NV 89102                                                   Disputed

          Date(s) debt was incurred                                          Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $0.00
          SILVERADO RANCH II, LMC                                               Contingent
          PO BOX 93625                                                          Unliquidated
          LAS VEGAS, NV 89193-3625
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [NOTICE ONLY]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $200.00
          SILVERADO RANCH LMA                                                   Contingent
          C/O FIRST SERVICE RESIDENTIAL                                         Unliquidated
          PO BOX 54089
          LOS ANGELES, CA 90054-0890                                            Disputed

          Date(s) debt was incurred                                          Basis for the claim:    [NOTICE ONLY]
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $0.00
          SUMMERLIN NORTH COMMUNITY ASSOC                                       Contingent
          PO BOX 54138                                                          Unliquidated
          LOS ANGELES, CA 90054-0138
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [NOTICE ONLY]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                            Page 5 of 6
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 Debtor       SCHULTE PROPERTIES LLC                                                                  Case number (if known)            18-12734
              Name

 3.33      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $3,000.00
           WEST SAHARA COMMUNITY                                                Contingent
           C/O FIRST SERVICE RESIDENTIAL                                        Unliquidated
           PO BOX 54089
           LOS ANGELES, CA 90054-0089                                           Disputed

           Date(s) debt was incurred                                         Basis for the claim:    [NOTICE ONLY]
           Last 4 digits of account number                                   Is the claim subject to offset?       No     Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                      related creditor (if any) listed?               account number, if
                                                                                                                                                      any

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                        Total of claim amounts
 5a. Total claims from Part 1                                                                            5a.        $                             0.00
 5b. Total claims from Part 2                                                                            5b.   +    $                       748,977.95

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                                 5c.        $                          748,977.95




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 6 of 6
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 Fill in this information to identify the case:

 Debtor name         SCHULTE PROPERTIES LLC

 United States Bankruptcy Court for the:            DISTRICT OF NEVADA

 Case number (if known)         18-12734
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired
                                                                               lease

 2.1.        State what the contract or                   lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                    Andrew Schanda & Taylor Sinnott
             List the contract number of any                                        9521 Sierra Summit Avenue
                   government contract                                              LAS VEGAS, NV 89134


 2.2.        State what the contract or                   lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                    Anthony Hunt & Akila Zamba-Martin
             List the contract number of any                                        2525 Via Di Autostrada
                   government contract                                              HENDERSON, NV 89074


 2.3.        State what the contract or                   lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                    Billy Obedoza & Kami Conselva
             List the contract number of any                                        5218 Misty Morning Drive
                   government contract                                              LAS VEGAS, NV 89118


 2.4.        State what the contract or                   lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                    Chris & Mary Wirta
             List the contract number of any                                        2460 Avenida Cortes
                   government contract                                              HENDERSON, NV 89074




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 6
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 Debtor 1 SCHULTE PROPERTIES LLC                                                                 Case number (if known)   18-12734
              First Name              Middle Name                    Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

 2.5.        State what the contract or                   lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                         Clint Fisher
             List the contract number of any                                             956 Ostrich Fern Court
                   government contract                                                   LAS VEGAS, NV 89123


 2.6.        State what the contract or                   lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                         Darlene Seltmann & Logan Kiplinger
             List the contract number of any                                             2614 Sweet Leilani Avenue
                   government contract                                                   NORTH LAS VEGAS, NV 89031


 2.7.        State what the contract or                   lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                         DAVID PIERCE
             List the contract number of any                                             509 Canyon Greens Drive
                   government contract                                                   LAS VEGAS, NV 89144


 2.8.        State what the contract or                   lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                         Donald and Bonnie Lee
             List the contract number of any                                             5709 Ridgetree Avenue
                   government contract                                                   LAS VEGAS, NV 89107


 2.9.        State what the contract or                   lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                         Ivy Flores & Jason Scott
             List the contract number of any                                             1701 Empire Mine Drive
                   government contract                                                   HENDERSON, NV 89014


 2.10.       State what the contract or                   lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                               James Craig
                                                                                         9020 Feather River Court
             List the contract number of any                                             LAS VEGAS, NV 89117
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                        Page 2 of 6
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 Debtor 1 SCHULTE PROPERTIES LLC                                                                 Case number (if known)   18-12734
              First Name              Middle Name                    Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                    government contract


 2.11.       State what the contract or                   lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                         Janice Williams
             List the contract number of any                                             922 Saddle Horn Drive
                   government contract                                                   HENDERSON, NV 89002


 2.12.       State what the contract or                   lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                         Jason Cowie
             List the contract number of any                                             1392 Echo Falls Avenue
                   government contract                                                   LAS VEGAS, NV 89123


 2.13.       State what the contract or                   lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                         Javier Linares & Doris Cajas
             List the contract number of any                                             8216 Peaceful Canyon Drive
                   government contract                                                   LAS VEGAS, NV 89128


 2.14.       State what the contract or                   lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                         Jesse Gaytan & Dulce Soliz
             List the contract number of any                                             6091 Pumpkin Patch Avenue
                   government contract                                                   LAS VEGAS, NV 89142


 2.15.       State what the contract or                   lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                         John Letus
             List the contract number of any                                             5524 Rock Creek Lane
                   government contract                                                   LAS VEGAS, NV 89130


 2.16.       State what the contract or                   lease
             lease is for and the nature of                                              Jonathan Hayes
             the debtor's interest                                                       5609 Sand Ardo Place
                                                                                         LAS VEGAS, NV 89130
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                        Page 3 of 6
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 Debtor 1 SCHULTE PROPERTIES LLC                                                                 Case number (if known)   18-12734
              First Name              Middle Name                    Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.17.       State what the contract or                   lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                         Karen Taylor & Aja Campbell
             List the contract number of any                                             3729 Discovery Creek
                   government contract                                                   NORTH LAS VEGAS, NV 89031


 2.18.       State what the contract or                   lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                         Kelly Frey
             List the contract number of any                                             2861 Marathon Drive
                   government contract                                                   HENDERSON, NV 89074


 2.19.       State what the contract or                   lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                         Kyle & Corinna Case
             List the contract number of any                                             4710 Brentley Place
                   government contract                                                   LAS VEGAS, NV 89122


 2.20.       State what the contract or                   lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                         Laimonas Gubista & Siga Urdakyte
             List the contract number of any                                             276 Manzanita Ranch Lane
                   government contract                                                   HENDERSON, NV 89012


 2.21.       State what the contract or                   lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                         Linda Reina
             List the contract number of any                                             7873 Bridgefield Lane
                   government contract                                                   LAS VEGAS, NV 89147




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                        Page 4 of 6
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 Debtor 1 SCHULTE PROPERTIES LLC                                                                 Case number (if known)   18-12734
              First Name              Middle Name                    Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

 2.22.       State what the contract or                   lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                         Maria Cabrera
             List the contract number of any                                             4521 W. La Madre Way
                   government contract                                                   NORTH LAS VEGAS, NV 89031


 2.23.       State what the contract or                   lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                         Monica Montero & Brenda Torres Lopez
             List the contract number of any                                             9500 Aspen Glow Drive
                   government contract                                                   LAS VEGAS, NV 89134


 2.24.       State what the contract or                   lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                         Nettie Johnston & Juris Ore
             List the contract number of any                                             2290 Surrey Meadows Avenue
                   government contract                                                   HENDERSON, NV 89052


 2.25.       State what the contract or                   lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                         Robert & Rosanna Lopez
             List the contract number of any                                             1528 Splinter Rock Way
                   government contract                                                   NORTH LAS VEGAS, NV 89031


 2.26.       State what the contract or                   lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                         Robin & Tyrel James
             List the contract number of any                                             3383 Cloverdale Court
                   government contract                                                   LAS VEGAS, NV 89117


 2.27.       State what the contract or                   lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                               Rodney & Gina Brown
                                                                                         1194 Stormy Valley Road
             List the contract number of any                                             LAS VEGAS, NV 89123
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                        Page 5 of 6
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 Debtor 1 SCHULTE PROPERTIES LLC                                                                 Case number (if known)   18-12734
              First Name              Middle Name                    Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                    government contract


 2.28.       State what the contract or                   lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                         Roni & Miri David
             List the contract number of any                                             10317 Neopolitan Place
                   government contract                                                   LAS VEGAS, NV 89144


 2.29.       State what the contract or                   lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                         Shauna Brogan
             List the contract number of any                                             1624 Desert Canyon Ct
                   government contract                                                   LAS VEGAS, NV 89128


 2.30.       State what the contract or                   lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                         Steven McCoy
             List the contract number of any                                             8562 Lambert Drive
                   government contract                                                   LAS VEGAS, NV 89147


 2.31.       State what the contract or                   lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                         Varry Heramis, Amamlia Kutlu, & S. Kutlu
             List the contract number of any                                             1013 Golden Hawk Way
                   government contract                                                   LAS VEGAS, NV 89108


 2.32.       State what the contract or                   lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                         William Hallman
             List the contract number of any                                             3322 Cheltenham Street
                   government contract                                                   LAS VEGAS, NV 89129




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                        Page 6 of 6
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 Fill in this information to identify the case:

 Debtor name         SCHULTE PROPERTIES LLC

 United States Bankruptcy Court for the:            DISTRICT OF NEVADA

 Case number (if known)         18-12734
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                      12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                   Name                            Check all schedules
                                                                                                                                 that apply:

    2.1      Leola Brinker                     9811 W. Charleston Blvd. Suite 2-351              SELENE FINANCE LP                  D   2.36
                                               LAS VEGAS, NV 89117                                                                  E/F
                                                                                                                                    G




    2.2      Leola Brinker                     9811 W. Charleston Blvd. Suite 2-351              NATIONSTAR                         D   2.29
                                               LAS VEGAS, NV 89117                               MORTGAGE                           E/F
                                                                                                                                    G




    2.3      Leola Brinker                     9811 W. Charleston Blvd. Suite 2-351              SETERUS, INC.                      D   2.38
                                               LAS VEGAS, NV 89117                                                                  E/F
                                                                                                                                    G




    2.4      Leola Brinker                     9811 W. Charleston Blvd. Suite 2-351              SELENE FINANCE LP                  D   2.34
                                               LAS VEGAS, NV 89117                                                                  E/F
                                                                                                                                    G




    2.5      Melani Schulte                    9811 W. Charleston Blvd. Suite 2-351              WELLS FARGO                        D   2.51
                                               LAS VEGAS, NV 89117                               HOME MORTGAGE                      E/F
                                                                                                                                    G




Official Form 206H                                                         Schedule H: Your Codebtors                                         Page 1 of 8
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 Debtor       SCHULTE PROPERTIES LLC                                                      Case number (if known)   18-12734


            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                          Column 2: Creditor



    2.6      Melani Schulte                    9811 W. Charleston Blvd. Suite 2-351            CITIMORTGAGE                   D   2.10
                                               LAS VEGAS, NV 89117                                                            E/F
                                                                                                                              G




    2.7      Melani Schulte                    9811 W. Charleston Blvd. Suite 2-351            SELENE FINANCE LP              D   2.32
                                               LAS VEGAS, NV 89117                                                            E/F
                                                                                                                              G




    2.8      Melani Schulte                    9811 W. Charleston Blvd. Suite 2-351            CHASE                          D   2.9
                                               LAS VEGAS, NV 89117                                                            E/F
                                                                                                                              G




    2.9      Melani Schulte                    9811 W. Charleston Blvd. Suite 2-351            BAYVIEW LOAN                   D   2.6
                                               LAS VEGAS, NV 89117                             SERVICING                      E/F
                                                                                                                              G




    2.10     Melani Schulte                    9811 W. Charleston Blvd. Suite 2-351            BAYVIEW LOAN                   D   2.4
                                               LAS VEGAS, NV 89117                             SERVICING                      E/F
                                                                                                                              G




    2.11     Melani Schulte                    9811 W. Charleston Blvd. Suite 2-351            BAYVIEW LOAN                   D   2.3
                                               LAS VEGAS, NV 89117                             SERVICING                      E/F
                                                                                                                              G




    2.12     Melani Schulte                    9811 W. Charleston Blvd. Suite 2-351            FIFTH THIRD BANK               D   2.15
                                               LAS VEGAS, NV 89117                                                            E/F
                                                                                                                              G




    2.13     Melani Schulte                    9811 W. Charleston Blvd. Suite 2-351            SHELLPOINT                     D   2.41
                                               LAS VEGAS, NV 89117                             MORTGAGE                       E/F
                                                                                               SERVICING LLC
                                                                                                                              G




Official Form 206H                                                         Schedule H: Your Codebtors                                Page 2 of 8
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 Debtor       SCHULTE PROPERTIES LLC                                                      Case number (if known)   18-12734


            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                          Column 2: Creditor



    2.14     Melani Schulte                    9811 W. Charleston Blvd. Suite 2-351            SHELLPOINT                     D   2.43
                                               LAS VEGAS, NV 89117                             MORTGAGE                       E/F
                                                                                               SERVICING LLC
                                                                                                                              G




    2.15     Melani Schulte                    9811 W. Charleston Blvd. Suite 2-351            BAYVIEW LOAN                   D   2.2
                                               LAS VEGAS, NV 89117                             SERVICING                      E/F
                                                                                                                              G




    2.16     Melani Schulte                    9811 W. Charleston Blvd. Suite 2-351            SELENE FINANCE LP              D   2.33
                                               LAS VEGAS, NV 89117                                                            E/F
                                                                                                                              G




    2.17     Melani Schulte                    9811 W. Charleston Blvd. Suite 2-351            FIDELITY BANK                  D   2.14
                                               LAS VEGAS, NV 89117                                                            E/F
                                                                                                                              G




    2.18     Melani Schulte                    9811 W. Charleston Blvd. Suite 2-351            SHELLPOINT                     D   2.46
                                               LAS VEGAS, NV 89117                             MORTGAGE                       E/F
                                                                                               SERVICING LLC
                                                                                                                              G




    2.19     Melani Schulte                    9811 W. Charleston Blvd. Suite 2-351            SETERUS, INC.                  D   2.37
                                               LAS VEGAS, NV 89117                                                            E/F
                                                                                                                              G




    2.20     Melani Schulte                    9811 W. Charleston Blvd. Suite 2-351            SELENE FINANCE LP              D   2.35
                                               LAS VEGAS, NV 89117                                                            E/F
                                                                                                                              G




    2.21     Melani Schulte                    9811 W. Charleston Blvd. Suite 2-351            SHELLPOINT                     D   2.44
                                               LAS VEGAS, NV 89117                             MORTGAGE                       E/F
                                                                                               SERVICING LLC
                                                                                                                              G




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    2.22     Melani Schulte                    9811 W. Charleston Blvd. Suite 2-351            SHELLPOINT                     D   2.42
                                               LAS VEGAS, NV 89117                             MORTGAGE                       E/F
                                                                                               SERVICING LLC
                                                                                                                              G




    2.23     Melani Schulte                    9811 W. Charleston Blvd. Suite 2-351            COUNTRYWIDE /                  D   2.13
                                               LAS VEGAS, NV 89117                             BANK OF AMERICA                E/F
                                                                                                                              G




    2.24     Melani Schulte                    9811 W. Charleston Blvd. Suite 2-351            Z'REA LIMITED                  D   2.52
                                               LAS VEGAS, NV 89117                             PARTNERSHIP                    E/F
                                                                                                                              G




    2.25     Melani Schulte                    9811 W. Charleston Blvd. Suite 2-351            JESSE SBAIH AND                D   2.27
                                               LAS VEGAS, NV 89117                             DEBORAH DRAKE                  E/F
                                                                                                                              G




    2.26     Melani Schulte                    9811 W. Charleston Blvd. Suite 2-351            JEFFREY                        D   2.24
                                               LAS VEGAS, NV 89117                             SYLVESTER, ESQ.                E/F
                                                                                                                              G




    2.27     Melani Schulte                    9811 W. Charleston Blvd. Suite 2-351            RUSHMORE LOAN                  D   2.30
                                               LAS VEGAS, NV 89117                             MANAGEMENT                     E/F
                                                                                               SERVICES
                                                                                                                              G




    2.28     Melani Schulte                    9811 W. Charleston Blvd. Suite 2-351            BANK OF AMERICA                D   2.1
                                               LAS VEGAS, NV 89117                                                            E/F
                                                                                                                              G




    2.29     Melani Schulte                    9811 W. Charleston Blvd. Suite 2-351            JESSE SBAIH AND                D   2.28
                                               LAS VEGAS, NV 89117                             DEBORAH DRAKE                  E/F
                                                                                                                              G




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    2.30     Melani Schulte                    9811 W. Charleston Blvd. Suite 2-351            RUSHMORE LOAN                  D   2.31
                                               LAS VEGAS, NV 89117                             MANAGEMENT                     E/F
                                                                                               SERVICES
                                                                                                                              G




    2.31     Melani Schulte                    9811 W. Charleston Blvd. Suite 2-351            SETERUS, INC.                  D   2.39
                                               LAS VEGAS, NV 89117                                                            E/F
                                                                                                                              G




    2.32     Melani Schulte                    9811 W. Charleston Blvd. Suite 2-351            SETERUS, INC.                  D   2.40
                                               LAS VEGAS, NV 89117                                                            E/F
                                                                                                                              G




    2.33     Melani Schulte                    9811 W. Charleston Blvd. Suite 2-351            BSI                            D   2.8
                                               LAS VEGAS, NV 89117                                                            E/F
                                                                                                                              G




    2.34     Melani Schulte                    9811 W. Charleston Blvd. Suite 2-351            BAYVIEW LOAN                   D   2.5
                                               LAS VEGAS, NV 89117                             SERVICING                      E/F
                                                                                                                              G




    2.35     Melani Schulte                    9811 W. Charleston Blvd. Suite 2-351            Sanctuary Condos,              D
                                               LAS VEGAS, NV 89117                             LLC                            E/F       3.28
                                                                                                                              G




    2.36     Melani Schulte                    9811 W. Charleston Blvd. Suite 2-351            Dagger Properties              D
                                               LAS VEGAS, NV 89117                             1-6, LLC                       E/F       3.11
                                                                                                                              G




    2.37     Rodney Ashton                     2144 Hillsgate Street                           SHELLPOINT                     D   2.45
                                               LAS VEGAS, NV 89134                             MORTGAGE                       E/F
                                                                                               SERVICING LLC
                                                                                                                              G




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    2.38     SABRECO INC                       9811 W. Charleston Suite 2-351                  CITY NATIONAL                  D   2.11
                                               LAS VEGAS, NV 89117                             BANK                           E/F
                                                                                                                              G




    2.39     SABRECO INC                       9811 W. Charleston Suite 2-351                  Image Finance, LLC             D   2.22
                                               LAS VEGAS, NV 89117                                                            E/F
                                                                                                                              G




    2.40     SABRECO INC                       9811 W. Charleston Suite 2-351                  CITY NATIONAL                  D   2.12
                                               LAS VEGAS, NV 89117                             BANK                           E/F
                                                                                                                              G




    2.41     SABRECO INC                       9811 W. Charleston Suite 2-351                  Sanctuary Condos,              D
                                               LAS VEGAS, NV 89117                             LLC                            E/F       3.28
                                                                                                                              G




    2.42     SABRECO INC                       9811 W. Charleston Suite 2-351                  Dagger Properties              D
                                               LAS VEGAS, NV 89117                             1-6, LLC                       E/F       3.11
                                                                                                                              G




    2.43     William R.                        8252 Nice Court                                 BAYVIEW LOAN                   D   2.7
             Schulte                           LAS VEGAS, NV 89129                             SERVICING                      E/F
                                                                                                                              G




    2.44     William R.                        8252 Nice Court                                 GREEN TREE                     D   2.16
             Schulte                           LAS VEGAS, NV 89129                             SERVICING LLC -                E/F
                                                                                               DITECH
                                                                                                                              G




    2.45     William R.                        8252 Nice Court                                 WELLS FARGO                    D   2.51
             Schulte                           LAS VEGAS, NV 89129                             HOME MORTGAGE                  E/F
                                                                                                                              G




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    2.46     William R.                        8252 Nice Court                                 CITIMORTGAGE                   D   2.10
             Schulte                           LAS VEGAS, NV 89129                                                            E/F
                                                                                                                              G




    2.47     William R.                        8252 Nice Court                                 CHASE                          D   2.9
             Schulte                           LAS VEGAS, NV 89129                                                            E/F
                                                                                                                              G




    2.48     William R.                        8252 Nice Court                                 GREEN TREE                     D   2.17
             Schulte                           LAS VEGAS, NV 89129                             SERVICING LLC -                E/F
                                                                                               DITECH
                                                                                                                              G




    2.49     William R.                        8252 Nice Court                                 WELLS FARGO                    D   2.47
             Schulte                           LAS VEGAS, NV 89129                                                            E/F
                                                                                                                              G




    2.50     William R.                        8252 Nice Court                                 FIDELITY BANK                  D   2.14
             Schulte                           LAS VEGAS, NV 89129                                                            E/F
                                                                                                                              G




    2.51     William R.                        8252 Nice Court                                 WELLS FARGO                    D   2.49
             Schulte                           LAS VEGAS, NV 89129                                                            E/F
                                                                                                                              G




    2.52     William R.                        8252 Nice Court                                 GREEN TREE                     D   2.18
             Schulte                           LAS VEGAS, NV 89129                             SERVICING LLC -                E/F
                                                                                               DITECH
                                                                                                                              G




    2.53     William R.                        8252 Nice Court                                 SHELLPOINT                     D   2.46
             Schulte                           LAS VEGAS, NV 89129                             MORTGAGE                       E/F
                                                                                               SERVICING LLC
                                                                                                                              G




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    2.54     William R.                        8252 Nice Court                                 SELENE FINANCE LP              D   2.35
             Schulte                           LAS VEGAS, NV 89129                                                            E/F
                                                                                                                              G




    2.55     William R.                        8252 Nice Court                                 SHELLPOINT                     D   2.44
             Schulte                           LAS VEGAS, NV 89129                             MORTGAGE                       E/F
                                                                                               SERVICING LLC
                                                                                                                              G




    2.56     William R.                        8252 Nice Court                                 WELLS FARGO                    D   2.50
             Schulte                           LAS VEGAS, NV 89129                             HOME MORTGAGE                  E/F
                                                                                                                              G




    2.57     William R.                        8252 Nice Court                                 Z'REA LIMITED                  D   2.52
             Schulte                           LAS VEGAS, NV 89129                             PARTNERSHIP                    E/F
                                                                                                                              G




    2.58     William R.                        8252 Nice Court                                 RUSHMORE LOAN                  D   2.31
             Schulte                           LAS VEGAS, NV 89129                             MANAGEMENT                     E/F
                                                                                               SERVICES
                                                                                                                              G




    2.59     William R.                        8252 Nice Court                                 WELLS FARGO                    D   2.48
             Schulte                           LAS VEGAS, NV 89129                                                            E/F
                                                                                                                              G




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 Fill in this information to identify the case:

 Debtor name         SCHULTE PROPERTIES LLC

 United States Bankruptcy Court for the:            DISTRICT OF NEVADA

 Case number (if known)         18-12734
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                         04/16
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       From the beginning of the fiscal year to filing date:                                       Operating a business                               $112,483.28
       From 1/01/2018 to Filing Date
                                                                                                   Other    Business Operations


       For prior year:                                                                             Operating a business                               $152,934.00
       From 1/01/2017 to 12/31/2017
                                                                                                   Other    Business Operation

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,425. (This amount may be adjusted on 4/01/19
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None.

       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply
       3.1.
               (SEE ATTACHED EXHIBIT 1)                                                                            $0.00         Secured debt
                                                                                                                                 Unsecured loan repayments
                                                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other



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4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,425. (This amount
   may be adjusted on 4/01/19 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

           None.

       Insider's name and address                                          Dates                 Total amount of value           Reasons for payment or transfer
       Relationship to debtor
       4.1.    Thrive Property Management &                                Various                          $33,976.00           Property Management Fees
               Investment                                                  dates,
               9811 W Charleston Ste 2-351                                 07/17/2017-0
               LAS VEGAS, NV 89117                                         5/07/2018
               Owned by Melani Schulte

       4.2.    Melani Schulte                                              8/16/2017                          $1,022.32          Reimbursement for repair parts
               9811 W. Charleston Blvd. Suite 2-351
               LAS VEGAS, NV 89117
               Owner

       4.3.    Melani Schulte                                              various                              $720.00          Property Management Fees
               9811 W. Charleston Blvd. Suite 2-351                        dates,
               LAS VEGAS, NV 89117                                         6/12/2017 -
               Owner                                                       04/18/2018

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

           None

       Creditor's name and address                              Describe of the Property                                       Date                  Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                              Description of the action creditor took                        Date action was                 Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

           None.

               Case title                                       Nature of case             Court or agency's name and                 Status of case
               Case number                                                                 address
       7.1.    Sabreco, Inc. vs Dagger                          Civil Appeal               Nevada Supreme Court                          Pending
               Properties 1, LLC                                                                                                         On appeal
               75225
                                                                                                                                         Concluded




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               Case title                                       Nature of case               Court or agency's name and                Status of case
               Case number                                                                   address
       7.2.    Dagger Properties 1 LLC et al                    Civil dispute                EIGHTH JUDICIAL                              Pending
               vs Sabreco Inc.                                                               DISTRICT COURT                               On appeal
               A-14-694093-C                                                                 OF CLARK COUNTY,
                                                                                                                                          Concluded
                                                                                             NEVADA
                                                                                             REGIONAL JUSTICE
                                                                                             CENTER
                                                                                             200 LEWIS AVENUE
                                                                                             LAS VEGAS, NV 89155


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None


 Part 4:       Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

               Recipient's name and address                     Description of the gifts or contributions                Dates given                                Value


 Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None

       Description of the property lost and                     Amount of payments received for the loss                 Dates of loss                Value of property
       how the loss occurred                                                                                                                                       lost
                                                                If you have received payments to cover the loss, for
                                                                example, from insurance, government compensation, or
                                                                tort liability, list the total received.

                                                                List unpaid claims on Official Form 106A/B (Schedule
                                                                A/B: Assets – Real and Personal Property).

 Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.

                Who was paid or who received                         If not money, describe any property transferred           Dates                    Total amount or
                the transfer?                                                                                                                                    value
                Address
       11.1.    JOHNSON & GUBLER, P.C.
                LAKES BUSINESS PARK
                8831 W SAHARA AVE
                LAS VEGAS, NV 89117-5865                             Attorney Fees (plus $1717 filing fee)                     05/08/2018                   $45,000.00

                Email or website address
                mjohnson@mjohnsonlaw.com

                Who made the payment, if not debtor?




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12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

           None.

       Name of trust or device                                       Describe any property transferred                Dates transfers             Total amount or
                                                                                                                      were made                            value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

           None.

               Who received transfer?                           Description of property transferred or                   Date transfer            Total amount or
               Address                                          payments received or debts paid in exchange              was made                          value

 Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


           Does not apply

                Address                                                                                                    Dates of occupancy
                                                                                                                           From-To

 Part 8:      Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.


                Facility name and address                       Nature of the business operation, including type of services             If debtor provides meals
                                                                the debtor provides                                                      and housing, number of
                                                                                                                                         patients in debtor’s care

 Part 9:      Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?


 Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units




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18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

          None
              Financial Institution name and                    Last 4 digits of          Type of account or          Date account was             Last balance
              Address                                           account number            instrument                  closed, sold,            before closing or
                                                                                                                      moved, or                         transfer
                                                                                                                      transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


          None

       Depository institution name and address                       Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


          None

       Facility name and address                                     Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?


 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None


 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                    Court or agency name and             Nature of the case                   Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

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            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a.1.       Melani Schulte                                                                                                             5/26/17 - current
                    9811 W. Charleston Blvd. Suite 2-351
                    LAS VEGAS, NV 89117

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

              None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

              None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why
       26c.1.       Melani Schulte
                    9811 W. Charleston Blvd. Suite 2-351
                    LAS VEGAS, NV 89117

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

              None

       Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.
Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                           page 6
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 Debtor      SCHULTE PROPERTIES LLC                                                                     Case number (if known) 18-12734




               Name of the person who supervised the taking of the                          Date of inventory        The dollar amount and basis (cost, market,
               inventory                                                                                             or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Melani Schulte                                 9811 W. Charleston Blvd., Suite 2-351               Managing Member                       100%
                                                      LAS VEGAS, NV 89117



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.

               Name and address of recipient                    Amount of money or description and value of              Dates              Reason for
                                                                property                                                                    providing the value
       30.1 Thrive Property Management
       .    & Investment                                                                                                 Various dates,     Payment for
               9811 W Charleston Ste 2-351                                                                               7/17/2017          management
               LAS VEGAS, NV 89117                              33976.00                                                 -5/7/2018          services

               Relationship to debtor
               Owned by Melani Schulte


       30.2 Melani Schulte
       .    9811 W. Charleston Blvd.                                                                                     various dates,     Payment for
               Suite 2-351                                                                                               6/12/2017 -        management
               LAS VEGAS, NV 89117                              720.00                                                   4/18/2018          services

               Relationship to debtor
               Owner


       30.3 Melani Schulte
       .    9811 W. Charleston Blvd.                                                                                                        Reimbursement
               Suite 2-351                                                                                                                  for repair
               LAS VEGAS, NV 89117                              1022.32                                                  8/16/2017          expenses

               Relationship to debtor
               Owner


31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

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 Debtor      SCHULTE PROPERTIES LLC                                                                     Case number (if known) 18-12734



32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

    Name of the pension fund                                                                                   Employer Identification number of the parent
                                                                                                               corporation

 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         May 24, 2018

 /s/ MELANI SCHULTE                                                     MELANI SCHULTE
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         MANAGING MEMBER

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




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B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                                          District of Nevada
 In re       SCHULTE PROPERTIES LLC                                                                           Case No.      18-12734
                                                                                 Debtor(s)                    Chapter       11

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                 45,000.00
             Prior to the filing of this statement I have received                                        $                 45,000.00
             Balance Due                                                                                  $                       0.00

2.     $    1,717.00        of the filing fee has been paid.

3.     The source of the compensation paid to me was:

                  Debtor                  Other (specify):

4.     The source of compensation to be paid to me is:

                  Debtor                  Other (specify):

5.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

6.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]
                 All work performed pursuant to the employment application and any application for approval of compensation.

7.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:

                                                                          CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     May 24, 2018                                                                /s/ Matthew L. Johnson
     Date                                                                        Matthew L. Johnson 6004
                                                                                 Signature of Attorney
                                                                                 JOHNSON & GUBLER, P.C.
                                                                                 LAKES BUSINESS PARK
                                                                                 8831 W SAHARA AVE
                                                                                 LAS VEGAS, NV 89117-5865
                                                                                 (702) 471-0065 Fax: (702) 471-0075
                                                                                 mjohnson@mjohnsonlaw.com
                                                                                 Name of law firm




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                                                               United States Bankruptcy Court
                                                                          District of Nevada
 In re      SCHULTE PROPERTIES LLC                                                                 Case No.   18-12734
                                                                                 Debtor(s)         Chapter    11




                                               VERIFICATION OF CREDITOR MATRIX


I, the MANAGING MEMBER of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is

true and correct to the best of my knowledge.




 Date:       May 24, 2018                                            /s/ MELANI SCHULTE
                                                                     MELANI SCHULTE/MANAGING MEMBER
                                                                     Signer/Title




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